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                           U.S. District Court
                    Northern District of Texas (Dallas)
        CRIMINAL DOCKET FOR CASE #: 3:20-mj-00616-BT All Defendants


Case title: USA v. Sarpy                                  Date Filed: 06/18/2020
Other court case number: 4:18-CR-718-001 U.S. Dist. Court Date Terminated: 06/19/2020
                         for S. Dist. of Texas, Houston

Assigned to: Magistrate Judge Rebecca
Rutherford

Defendant (1)
John Wesley Sarpy                            represented by Federal Public Defender
TERMINATED: 06/19/2020                                      Federal Public Defender - Dallas
                                                            525 Griffin St
                                                            Suite 629
                                                            Dallas, TX 75202
                                                            214-767-2746
                                                            Fax: 214-767-2886
                                                            Email: jason_hawkins@fd.org
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: Federal Public Defender
                                                            Appointment
                                                            Bar Status: Admitted/In Good Standing

Pending Counts                                             Disposition
None

Highest Offense Level (Opening)
None

Terminated Counts                                          Disposition
None

Highest Offense Level (Terminated)
None

Complaints                                                 Disposition
Out of district arrest out of the Southern
District of Texas, Houston Division.
Charging the defendant with violation
of terms of pretrial release.




https://ecf.txnd.uscourts.gov/cgi-bin/DktRpt.pl?881744694699066-L_1_0-1                  6/19/2020
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Plaintiff
USA                                          represented by John J Boyle-DOJ
                                                            US Attorney's Office
                                                            1100 Commerce St
                                                            Third Floor
                                                            Dallas, TX 75242-1699
                                                            214-659-8600
                                                            Email: john.boyle2@usdoj.gov
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: US Attorney's Office
                                                            Bar Status: Admitted/In Good Standing


 Date Filed      # Docket Text
 06/19/2020     1   MOTION for Detention filed by USA as to John Wesley Sarpy Attorney John J
                    Boyle-DOJ added to party USA(pty:pla) (Boyle-DOJ, John) (Entered:
                    06/19/2020)
 06/19/2020         Arrest (Rule 5) of John Wesley Sarpy. Case Number 4:18-cr-718-001 from U.S.
                    District Court for Southern District of Texas, Houston Division. (mcrd) (Entered:
                    06/19/2020)
 06/19/2020     2   Minute Entry for proceedings held before Magistrate Judge Rebecca Rutherford:
                    Initial Appearance as to John Wesley Sarpy held on 6/19/2020. Date of Arrest:
                    6/19/2020 Location interval set to: LC. Attorney Appearances: AUSA - John
                    Boyle; Defense - Marti Morgan. (No exhibits) Time in Court - :03. (Court
                    Reporter: Todd Anderson) (Attachments: # 1 Additional Page(s) Petition) (mcrd)
                    (Entered: 06/19/2020)
 06/19/2020     3   (Document Restricted) CJA 23 Financial Affidavit by John Wesley Sarpy.
                    (mcrd) (Entered: 06/19/2020)
 06/19/2020     4   ORDER APPOINTING FEDERAL PUBLIC DEFENDER as to John Wesley
                    Sarpy. Federal Public Defender for John Wesley Sarpy appointed. (Ordered by
                    Magistrate Judge Rebecca Rutherford on 6/19/2020) (mcrd) (Entered:
                    06/19/2020)
 06/19/2020     5   ELECTRONIC Minute Entry for Waiver of Rule 5 & 5.1 Hearings (identity,
                    preliminary and detention) by John Wesley Sarpy: The defendant has been
                    charged by indictment with a felony offense in another district. At a proceeding
                    held on 6/19/2020 before Magistrate Judge Rebecca Rutherford, at which the
                    defendant appeared in person and represented by counsel, the Magistrate Judge
                    informed the defendant of the charges and his rights to an identity hearing to
                    determine whether the defendant is the person named in the indictment and
                    production of the warrant. The defendant stated he had discussed these rights
                    with counsel, that the defendant understood these rights, and that the defendant
                    wanted to waive his rights to an identity hearing and production of the warrant.
                    The Magistrate Judge found the defendant's waiver was knowing and voluntary,
                    and based on that waiver, the Magistrate Judge found the defendant is the person




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                    charged in the indictment. The defendant also consented to the issuance of an
                    order requiring his appearance in the prosecuting district. (mcrd) (Entered:
                    06/19/2020)
 06/19/2020     6   Report of Proceedings under Rule 5(c)(3) and 5.1 as to John Wesley Sarpy.
                    Defendant is removed forthwith to the district in which he is charged. Paperwork
                    sent to U.S. District Court for Southern District of Texas, Houston Division.
                    (Ordered by Magistrate Judge Rebecca Rutherford on 6/19/2020) (mcrd)
                    (Entered: 06/19/2020)
 06/19/2020     7   Notice FROM Texas Northern TO U.S. District Court for Southern District of
                    Texas, Houston Division of a Rule 5, Rule 32.1, or Rule 40 Appearance as to
                    John Wesley Sarpy. Your case number is: 4:18-CR-718-001. Docket sheet and
                    documents attached.
                    If you wish to designate a different email address for future transfers, send your
                    request to the national list host at
                    InterDistrictTransfer_TXND@txnd.uscourts.gov. (mcrd) (Entered: 06/19/2020)



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                                                        reason:


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